                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


PARMINDER S SEKHON, et. al.,

                       Plaintiffs,
                                                              Case No. 19-cv-0500-bhl
       v.

UNITED STATES DEPARTMENT OF AGRICULTURE,

                  Defendant.
______________________________________________________________________________

               ORDER DISMISSING CASE WITHOUT PREJUDICE
______________________________________________________________________________

       On April 8, 2019, the plaintiffs filed a complaint against the United States Department of
Agriculture, ECF No. 1. After submitting their Magistrate Judge Jurisdiction Form on April 29,
2019, ECF No. 2, the plaintiffs failed to file proof of service of the complaint and took no other
action to prosecute their case for well more than a year. On September 30, 2020, the Court
issued an order to the plaintiffs to show cause why this case should not be dismissed for failure
to serve their complaint timely pursuant to Fed. R. Civ. P. 4(m) and for failure to prosecute the
case. ECF No. 3. The Court warned the plaintiffs that the case would be dismissed if the
plaintiffs failed to provide proof of proper and timely service.
       On October 15, 2020, the plaintiffs filed a response to the court’s order to show cause.
ECF No. 4. The plaintiffs state that they “mailed all the required documents” on the same day
they filed the complaint and attach a receipt for mailing something by USPS Priority Mail
Express to the United States Department of Agriculture in Alexandria, Virginia. The plaintiffs
also note that “[a]s a result of mailing [the] documents to USDA all the proceeding were stopped
[sic] against me by USDA.”
       The plaintiffs’ response does not show that plaintiffs properly and timely served the
defendant as required by Fed. R. Civ. P. 4. Having sued the United States Department of
Agriculture, Rule 4(i) required the plaintiffs to serve the United States (which generally involves
serving both the local U.S. attorney’s office and the United States Attorney General in
Washington, D.C.) and the agency itself (which requires sending the summons and complaint to




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the agency “by registered or certified mail”). They also needed to file proof of service within the
time frame required by Rule 4(m). Regardless, the plaintiffs’ response indicates the Department
of Agriculture has since halted the proceedings that the plaintiffs sought to challenge in their
complaint, suggesting they no longer wish to continue the case and likely rendering the case
moot. Based on the foregoing, the court will dismiss this case without prejudice. Fed. R. Civ. P.
4(m); Civil L. R. 41(a), (c).

       Accordingly, IT IS HEREBY ORDERED that the plaintiffs’ complaint, ECF No. 1, is
DISMISSED without prejudice. The Clerk is directed to enter judgment accordingly.

       SO ORDERED on October 20, 2020.

                                                       s/ Brett H. Ludwig
                                                       BRETT H. LUDWIG
                                                       United States District Judge




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